Case 7:18-mj-01358 Document 1 Filed in TXSD on 07/02/18 Page 1 of 3

AO 91 (Rev. ll/l ]) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

 

United States of America )
v. )
JUAN cARLos GuEvARA-MARQuEz ) Case N°' q 1 ‘ g ""A \~7> 59
ALEYDA ARACELY GARC|A-ALVAREZ §
)
)
Defendanl(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 29 June 2018 in the county Of ` __ w Starr v v in the
Southern_ District of ______ Texas , the defendant(s) violated:
Coa'e Section O#ense Descrz`ptl'on
18 USC 111 (a)(1) Forcib|y assaults, resists, opposes, impedes, intimidates, or interferes with

any person designated in section 1114 of this title while engaged in or on
account of the performance of official duties.

This criminal complaint is based on these facts:

See Appendix A

 
   
    

d Continued on the attached sheet.

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’ signature

Special Agent Jo dan D. Gula

Printed name and title

 

/MW‘ jur “‘-"‘““‘
Swo o before me an signed ln my presence

Date; 07/02/2018 C“’ l.'s' ZF.,¢`.

udge 's signature

City and State; McAl|en, Texas Federal Magistrate Judge Juan Alanis

 

 

Printed name and title

 

 

Case 7:18-mj-01358 Document 1 Filed in TXSD on 07/02/18 Page 2 of 3

Attachment ”A”
Affidavit

l, Jordan D. Gula, being first duly sworn, state as follows:

1. l, Jordan D. Gula, am a Special Agent (SA) with the Federal Bureau of lnvestigation
(FB|) in McAl|en, Texas, and have been so employed since January 2018, | am currently assigned
to the Rio Grande Valley Vio|ent Crime Task Force in McAl|en, Texas. This affidavit is based on
information provided by the United States Border Patro|, Rio Grande City, Texas.

2. As a Federal Agent, l am authorized to investigate violations of federal laws of the
United States.

3. The following facts and information are known by the Affiant and were provided by
United States Border Patro| Agent Agents (USBPA) A.B., Rio Grande City, Texas, and BPA A.S.,
Rio Grande City, Texas. Both USBPAs A.B. and A.S. provided information serving as probable
cause in support of a complaint for violating Title 18, U.S.C., Section 111 (a)(1), Assau|ting a
Federal Officer.

4. On 29 June 2018, at approximately 8:20 a.m., in accordance with his official duties
and in his rough duty uniform as a Border Patro| Agent, BPA A.S. observed several individuals
run across the road to a 2010 Chrys|er Sebring while traveling eastbound on Estre|la Road in
Roma, Texas in his marked Border Patro| vehicle.

5. BPA A.S. began to follow this vehicle which turned southbound on Ebony Road
towards Bower's Gate at the Rio Grande River. BPA A.S. requested assistance from BPA A.B.
who was assigned to Bower's Gate area. BPA A.B. was in a marked Border Patro| vehicle and
wearing a Border Patro| rough duty uniform.

6. BPA A.B. placed his vehicle in position to intercept the Chrys|er Sebring which
approached his location overlooking the Rio Grande River after traveling south on Ebony Road
in Roma, Texas. The Chrys|er Sebring pulled up adjacent to BPA A.B.'s vehicle and six individuals
got out of the car and proceeded down the riverbank towards the Rio Grande River.

7. BPA A.B. caught up to the last two individuals, a male and fema|e, and tack|ed the two
individua|s.

8. The male got up, turned around towards BPA A.B. and attempted to grab him. The
female then grabbed BPA A.B. from behind and hit him on the back. As BPA A.B. turned and
attempted to remove the female from his back the male placed BPA A.B. in a head lock while
BPA A.B. was standing and the male subject pulled him to the ground. BPA A.B. struck his face
on a rock during the course of the fa||.

 

Case 7:18-mj-01358 Document 1 Filed in TXSD on 07/02/18 Page 3 of 3

9. Once BPA A.B. and the male were on the ground the male briefly was on top of BPA
A.B. until BPA A.B. was able to regain a top-mounted position. The male and female were
calling for assistance from the others that departed the Chrys|er Sebring stating ”ayudame”
(help me) in the Spanish language while they were engaged in the assault against BPA A.B. as
observed by BPA A.S. when he arrived on scene with BPA A.B. attempting to subdue the male
on the ground while the female was on top of BPA A.B.'s back. BPA A.B. was instructing the
two subjects to stop by stating "parote" (you stop) in the Spanish language.

10. BPA A.S. arrived on scene and assisted BPA A.B. by taking custody of the female
subject. Supervisory Border Patrol Agent J.j. arrived on scene and assisted BPA A.B. in securing
the male subject.

11. BPA A.B. suffered nasal and facial lacerations, soreness and inflammation of his left
hand, and abrasions to both knees during the assault.

12. The male subject encountered by BPA A.B. was identified as .lUAN CARLOS
GUEVARA-MARQUEZ, date Of birth 10 Augu$t 1984, a citizen Of EL SALVADOR.

13. The female subject encountered by BPA A.B. was identified as ALEYDA ARACELY
GARC|A-ALVAREZ, date of birth 30 October 1990, a citizen of EL SALVADOR.

14. Based on the aforementioned factual information, your Affiant respectively submits
that GUEVARA-MARQUEZ and GARClA-ALVAREZ committed violations of Tltle 18, United States
Code, Section 111 (a)(1), Assau|ting a Federal Officer.

 

.|ordan D. GLRK \

Special Agent
Federal Bureau of |nvestigation

Sworn to and subscribed before me this pdi clay ofJuly, 2018€__ l" S`Lf,,c._

 

 

 

W

uan Alanis
United States Magistrate Judge

 

